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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION

    LEAGUE OF WOMEN VOTERS OF
    FLORIDA, INC., et al.,
         Plaintiffs,
                                                 Case No.     4:21-cv-186-MW/MAF
                v.                                            4:21-cv-187-MW/MAF
                                                              4:21-cv-201-MW/MAF
    LAUREL M. LEE, in her official capacity
                                                              4:21-cv-242-MW/MAF
    as Florida Secretary of State, et al.,
         Defendants,
                and
    REPUBLICAN NATIONAL
    COMMITTEE, et al.,
         Intervenor-Defendants.

PARTIES’ NOTICE OF FILING DEPOSITION DESIGNATIONS IN LIEU
        OF LIVE TESTIMONY FOR CERTAIN WITNESSES

         Plaintiffs, Defendants Florida Secretary of State Laurel M. Lee (“Secretary”),

Florida Attorney General Ashley Moody, Miami-Dade Supervisor of Elections

Christina White, and Defendant-Intervenors (together, the “Parties”),1 hereby submit

the following annotated deposition transcripts in lieu of each respective deponent’s

live testimony at trial (Attachments 1-3), with an associated table of Defendants’



1
  The sixty-five Defendant Supervisors of Elections other than Supervisors White
and Latimer previously stipulated that they do not dispute the admissibility of any
Parties’ exhibits into evidence. ECF No. 402 at 46-47, ¶25. Supervisor Latimer
joined in that stipulation. ECF No. 480 at 1-2 n.2.
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objections and Plaintiffs’ responses (Attachment 4):

      1. 2021 10-22 Deposition Transcript of Elizabeth Guzzo – Trial Exhibit 166

            • Depo. Ex. 1, 2021 10-11 Subpoena to Testify at a Deposition to the
              Office of the Attorney General – Trial Ex. 167

      2. 2021 10-06 Deposition Transcript of Alan Hays – Trial Exhibit 168

            • Depo. Ex. 3, Lake County Mail Ballot Drop Box image – Trial
              Exhibit 171

            • Depo. Ex. 4, 2020 10-07 ClickOrlando.com Article, Central
              Florida counties reporting record number of mail-in ballots this
              election – Trial Exhibit 172

            • Depo. Ex. 5, 2021 05-27 Email from Alan Hays (Lake) to Carol
              Dunaway (Jackson) re: SB90 Compliance for Convenience for our
              Voters – Trial Exhibit 173

            • Depo. Ex. 7, Transcript of Alan Hays Comments from Committee
              on Governmental Oversight and Accountability – Trial Exhibit 175

            • Depo. Ex. 10, Text string between David Ramba and Alan Hays
              (Lake) – Trial Exhibit 178

            • Depo. Ex. 11, Transcript: Hays (Lake) comments at hearing –Trial
              Exhibit 179

            • Depo. Ex. 12, 2021 04-30 Email from Alan Hays (Lake) to Vicki
              Davis (Martin) re: Legislative Report Final Edition for this Session
              – Trial Exhibit 180

            • Depo. Ex. 13, 2021-02-21 Email from Alan Hays to Stephanie
              Kopelousos Re: Comments from Alan Hays – Trial Exhibit 181

            • Depo. Ex. 15, Vote-by-Mail Drop Off Process – Trial Exhibit 183

            • Depo. Ex. 17, Hays (Lake) text message – Trial Exhibit 185

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 3. 2021 10-11 Deposition Transcript of Craig Latimer – Trial Exhibit 211

       • Depo. Ex. 1, 3 Talking Points – 2021 legislation – Trial Exhibit
         212

       • Depo. Ex. 2, 2021 04-30 Statement from Craig Latimer
         (Hillsborough), President of Florida Supervisors of Elections –
         Trial Exhibit 213

       • Depo. Ex. 3, WUFT News Article, Florida Supervisors of
         Elections Oppose Controversial Voting Bill ‘SB90’ – Trial Exhibit
         214

       • Depo. Ex. 4, 2021 04-23 Florida Supervisors of Elections
         Statement on SB90 and HB7041 – Trial Exhibit 215

       • Depo. Ex. 5, Talking Points – 2021 legislation – Trial Exhibit 216

       • Depo. Ex. 6, 2021 04-22 Email from Gerri Kramer to Craig
         Latimer (Hillsborough) re: Points of Concern – Legislation – Trial
         Exhibit 217

       • Depo. Ex. 7, 2021-03-11 Email from Craig Latimer Re: FSE Drop
         Box Recs – Trial Exhibit 218

       • Depo. Ex. 8, Draft Recommendations for Florida Legislature on
         Drop Box Restrictions and Guidelines for 2021 - FSE Workgroup
         Recommendations – Trial Exhibit 219

       • Depo. Ex. 9, Requested Amendments to CS/CS/CS/SB90 – Trial
         Exhibit 220

       • Depo. Ex. 10, 2021 06-25 Affidavit of Peg Reese in Response to
         Plaintiffs’ First Set of Requests for Production – Trial Exhibit 221

       • Depo. Ex. 11, Text string between David Ramba, Alan Hays
         (Lake) and Craig Latimer (“Hillsborough) County SOE” – Trial
         Exhibit 222


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      4. Table of Objections and Responses

      In addition to the references in the Table of Objections and Reponses,

Plaintiffs’ objections are noted in the left margin of the deposition transcripts, using

abbreviations reflected in legend on the cover of each deposition transcript. As

reflected in the legend of the cover of each deposition transcript, the Parties’

respective designations reflect the following color coding:

Yellow Highlighting = Plaintiffs' Designations

Gray Highlighting = Defendants' Designations

Green Highlighting = Mutual Designations

Respectfully submitted this 5th day of February, 2022.

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      I HEREBY CERTIFY that on February 5, 2022, I electronically filed the

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